

ORDER

PER CURIAM:
AND NOW, this 24th day of November, 1998, upon consideration of the Report and Recommendations of the Disciplinary Board dated September 25, 1998, and the Petition for Review for Oral Argument and Briefing Schedule and response thereto, the Petition for Review for Oral Argument and Briefing Schedule is denied, and it is hereby
ORDERED that Vladimir N. Zdrok be and he is suspended from the Bar of this Commonwealth for a period of one year and one day, and he shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
